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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JESSE SIMPSON,

                        Plaintiff,

        v.                                                    Civil Action No. 22-2758 (TSC)

 U.S. DEPARTMENT OF JUSTICE,

                        Defendant.


                                     JOINT STATUS REPORT
       Pursuant to this Court’s Minute Order (Aug. 23, 2022), Plaintiff Jesse Simpson and

Defendant Department of Justice, by and through the undersigned counsel, respectfully file this

Joint Status Report (“JSR”) to appraise the Court of the status of this case under the Freedom of

Information Act, 5 U.S.C. § 552.

       Since the parties’ most recent JSR, the Bureau of Prisons’ Women and Special Populations

Branch conducted a supplemental local search for responsive records, but located no potentially

responsive records. The Religious Services Department also conducted a supplemental local

search and has identified responsive records, which Defendant anticipates releasing by the end of

this month or in early June. Both components conducted supplemental electronic searches for

records created between January 1, 2018 and May 15, 2020 using search terms on which the parties

agreed in advance, and identified potentially responsive records, which Defendant anticipated by

the end of June or in early July. The parties will file an additional JSR on or before June 21, 2023.

 Dated: May 22, 2023                                 Respectfully submitted,

 By: /s/ Deborah M. Golden                           MATTHEW M. GRAVES
 DEBORAH M. GOLDEN                                   United States Attorney
 DC Bar No. 460568                                   D.C. Bar #481052
 700 Pennsylvania Ave. SE, 2nd Floor
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Washington, DC 20003                      BRIAN P. HUDAK
(202) 630-0332 – telephone                Chief, Civil Division
(202) 217-3653 – facsimile
dgolden@debgoldenlaw.com                  By: /s/ Bradley G. Silverman
                                          BRADLEY G. SILVERMAN
Counsel for Plaintiff                     Assistant United States Attorney
                                          D.C. Bar #1531664
                                          601 D Street NW
                                          Washington, DC 20530
                                          (202) 252-2575
                                          bradley.silverman@usdoj.gov

                                          Counsel for Defendant




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